                      Case 1:23-mj-00080-MAU Document 1 Filed 04/11/23 Page 1 of 1
AO 91 (Rev. 11/11) Criminal Complaint



                                        UNITED STATES DISTRICT COURT
                                                                 for the
                                                           District of &ROXPELD

                  United States of America                          )
                             v.                                     )
                                                                    )      Case No.
                      Tricia LaCount
                                                                    )
                      DOB:                                          )
                                                                    )
                                                                    )
                          Defendant(s)


                                                 CRIMINAL COMPLAINT
          I, the complainant in this case, state that the following is true to the best of my knowledge and belief.
On or about the date(s) of                    January 6, 2021              in the county of                             in the
                         LQ WKH 'LVWULFW RI       &ROXPELD      , the defendant(s) violated:

            Code Section                                                     Offense Description
        18 U.S.C. § 1752(a)(1) - Entering and Remaining in a Restricted Building or Grounds,
         18 U.S.C. § 1752(a)(2) - Disorderly or Disruptive Conduct in a Restricted Building or Grounds ,
         40 U.S.C. § 5104(e)(2)(D) - Disorderly Conduct in a Capitol Building,
         40 U.S.C. § 5104(e)(2)(G) - Parading, Demonstrating, or Picketing in a Capitol Building.



         This criminal complaint is based on these facts:
  6HH DWWDFKHG VWDWHPHQW RI IDFWV




         9
         u Continued on the attached sheet.




                                                                                               Printed name and title
$WWHVWHG WR E\ WKH DSSOLFDQW LQ DFFRUGDQFH ZLWK WKH UHTXLUHPHQWV RI )HG 5 &ULP 3 
E\ WHOHSKRQH
                                                                                  Moxila A. Digitally signed by
                                                                                            Moxila A. Upadhyaya

Date:             04/11/2023
                                                                                  Upadhyaya Date: 2023.04.11
                                                                                            10:24:18 -04'00'
                                                                                                 Judge’s signature

City and state:                         :DVKLQJWRQ '&                      Moxila A. Upadhyaya, U.S. Magistrate Judge
                                                                                               Printed name and title
